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                                               COMPARATIVE BALANCE SHEETS
ASSETS                                       FILING DATE*      MONTH                 MONTH               MONTH               MONTH                     MONTH                     MONTH
                                                               July                  August              September          October                   November                  December
CURRENT ASSETS
Cash                                                                      2,168.29            1,401.50         49,215.01              893,954.12                893,954.12                887,954.12
Accounts Receivable, Net
Inventory: Lower of Cost or Market
Prepaid Expenses
Investments                                                            477,490.11         477,490.11          477,490.11               -10,895.00                -10,895.00                -10,895.00
Other
TOTAL CURRENT ASSETS                                    0.00           479,658.40         478,891.61          526,705.12              883,059.12                883,059.12                877,059.12
PROPERTY, PLANT & EQUIP. @ COST
Less Accumulated Depreciation
NET BOOK VALUE OF PP & E                                0.00                  0.00                0.00               0.00                      0.00                      0.00                      0.00
OTHER ASSETS
 1. Tax Deposits
 2. Investments in Subsidiaries
 3. Electric Deposit
 4.
TOTAL ASSETS                                          $0.00           $479,658.40       $478,891.61         $526,705.12            $883,059.12               $883,059.12               $877,059.12
                                          * Per Schedules and Statement of Affairs
              MOR-2                                                                                                         Revised 07/01/98          Revised 07/01/98          Revised 07/01/98
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                                                   COMPARATIVE BALANCE SHEETS
LIABILITIES & OWNER'S                            FILING DATE*      MONTH                 MONTH              MONTH               MONTH                MONTH                MONTH
EQUITY                                                             July                  August             September          October              November             December
LIABILITIES
POST-PETITION LIABILITIES(MOR-4)

PRE-PETITION LIABILITIES
 Notes Payable - Secured                                                  5,900,000.00      5,900,000.00
 Priority Debt
 Federal Income Tax
 FICA/Withholding
 Unsecured Debt                                                              73,330.95         73,330.95         111,168.58            111,168.58           111,168.58           111,168.58
 Other                                                                      183,174.52        183,174.52
TOTAL PRE-PETITION LIABILITIES                              0.00          6,156,505.47      6,156,505.47         111,168.58            111,168.58           111,168.58           111,168.58
TOTAL LIABILITIES                                           0.00          6,156,505.47      6,156,505.47         111,168.58            111,168.58           111,168.58           111,168.58
OWNER'S EQUITY (DEFICIT)
PREFERRED STOCK
COMMON STOCK
ADDITIONAL PAID-IN CAPITAL                                             -5,605,684.41        -5,605,684.41      -5,605,684.41        -5,605,684.41        -5,605,684.41        -5,605,684.41
RETAINED EARNINGS: Filing Date
RETAINED EARNINGS: Post Filing Date                                       -73,061.24           -73,061.24      6,377,574.95          6,377,574.95         6,377,574.95         6,371,574.95
TOTAL OWNER'S EQUITY (NET WORTH)                            0.00       -5,678,745.65        -5,678,745.65        771,890.54            771,890.54           771,890.54           765,890.54
TOTAL
LIABILITIES &
OWNERS EQUITY                                             $0.00           $477,759.82       $477,759.82        $883,059.12          $883,059.12          $883,059.12          $877,059.12
                                              * Per Schedules and Statement of Affairs
            MOR-3                                                                                                              Revised 07/01/98     Revised 07/01/98     Revised 07/01/98
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                                 SCHEDULE OF POST-PETITION LIABILITIES
                                           MONTH            MONTH            MONTH               MONTH             MONTH               MONTH
                                           July             August           September           October           November           December
TRADE ACCOUNTS PAYABLE
TAX PAYABLE
Federal Payroll Taxes
State Payroll Taxes
Ad Valorem Taxes
Other Taxes
TOTAL TAXES PAYABLE                                  0.00             0.00                0.00              0.00               0.00                      0.00
SECURED DEBT POST-PETITION
ACCRUED INTEREST PAYABLE
ACCRUED PROFESSIONAL FEES*
OTHER ACCRUED LIABILITIES
1.
2.
3.
TOTAL POST-PETITION LIABILITIES (MOR-3)            $0.00             $0.00               $0.00             $0.00              $0.00                  $0.00
 *Payment requires Court Approval
      MOR-4                                                                                                                           Revised 07/01/98
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 CASE NAME:    KrisJenn Ranch, LLC
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                                                            AGING OF POST-PETITION LIABILITIES
                                                            MONTH                December

       DAYS            TOTAL              TRADE                   FEDERAL               STATE             AD VALOREM,                     OTHER
                                         ACCOUNTS                  TAXES                TAXES             OTHER TAXES
0-30                              0.00
31-60                             0.00
61-90                             0.00
91+                               0.00
TOTAL                           $0.00               $0.00                    $0.00                $0.00               $0.00                        $0.00

                                                            AGING OF ACCOUNTS RECEIVABLE



   MONTH
                        July              August                 September              October            November                     December
0-30 DAYS
31-60 DAYS
61-90 DAYS
91+ DAYS
TOTAL                           $0.00               $0.00                    $0.00                $0.00               $0.00                       $0.00

               MOR-5                                                                                                          Revised 07/01/98
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         CASE NAME:          KrisJenn Ranch, LLC
        CASE NUMBER:         20-50805-RBK

                                                          MONTH                       MONTH                    MONTH             MONTH           MONTH              MONTH               FILING TO
                                                          July                        August                 September        October            November           December         DATE
REVENUES (MOR-1)                                                          150.00                   50,000.00     7,142,789.41             3.00                                          7,308,254.69
TOTAL COST OF REVENUES                                                                                                                                                                      6,218.96
GROSS PROFIT                                                              150.00                   50,000.00      7,142,789.41            3.00               0.00               0.00    7,302,035.73
OPERATING EXPENSES:
   Selling & Marketing                                                                                                                                                                               0.00
   General & Administrative                                                 15.00                     27.00             29.93             0.00                                                   2,072.93
   Insiders Compensation                                                                                                                                                                             0.00
   Professional Fees                                                        0.00                        0.00         52,757.00            0.00                                                 199,683.07
   Other                                                                  398.79                      750.00         23,578.28                                                                  37,943.67
   Other                                                                  503.00                    1,409.49          8,686.25                                               6,000.00           33,284.12
TOTAL OPERATING EXPENSES                                                  916.79                    2,186.49         85,051.46            0.00               0.00            6,000.00          274,398.79
INCOME BEFORE INT, DEPR/TAX (MOR-1)                                      -766.79                   47,813.51      7,057,737.95            3.00               0.00           -6,000.00        7,027,636.94
INTEREST EXPENSE                                                                                                    530,000.00                                                                 530,000.00
DEPRECIATION                                                                                                                                                                                         0.00
OTHER (INCOME) EXPENSE*                                                                                                                                                                              0.00
OTHER ITEMS**                                                                                                       126,061.99                                                                 126,061.99
TOTAL INT, DEPR & OTHER ITEMS                                               0.00                        0.00        656,061.99            0.00               0.00                0.00          656,061.99
NET INCOME BEFORE TAXES                                                  -766.79                   47,813.51      6,401,675.96            3.00               0.00           -6,000.00        6,371,574.95
FEDERAL INCOME TAXES                                                                                                                                                                                 0.00
NET INCOME (LOSS) (MOR-1)                                             ($766.79)               $47,813.51        $6,401,675.96            $3.00              $0.00       ($6,000.00)        $6,371,574.95
Accrual Accounting Required, Otherwise Footnote with Explanation.
* Footnote Mandatory.
* * Unusual and/or infrequent item(s) outside the ordinary course of business requires footnote.
               MOR-6                                                                                                                                                                    Revised 07/01/98
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CASH RECEIPTS AND                                           MONTH       MONTH               MONTH          MONTH          MONTH          MONTH          MONTH          FILING TO
DISBURSEMENTS                                                           July             August       September    October     November     December                   DATE
 1. CASH-BEGINNING OF MONTH                                    $0.00           $2,168.29    $1,401.50   $49,215.01 $893,954.12  $893,954.12 $893,954.12                              $0.00
RECEIPTS:
 2. CASH SALES                                                                      0.00                           0.00           0.00           0.00           0.00          13,315.28
 3. COLLECTION OF ACCOUNTS RECEIVABLE                                                                                                                                              0.00
 4. LOANS & ADVANCES (attach list)                                                                                                                                            73,330.95
 5. SALE OF ASSETS                                                                                       7,450,000.00                                                      7,450,000.00
 6. OTHER (attach list)                                                           150.00       50,000.00                          3.00                                       152,150.00
TOTAL RECEIPTS**                                                 0.00             150.00       50,000.00 7,450,000.00             3.00           0.00           0.00       7,688,796.23
(Withdrawal) Contribution by Individual Debtor MFR-2*                                                                                                                              0.00
DISBURSEMENTS:
 7. NET PAYROLL                                                                                                                                                                    0.00
 8. PAYROLL TAXES PAID                                                                                                                                                             0.00
 9. SALES, USE & OTHER TAXES PAID                                                                                                                                              1,844.00
10. SECURED/RENTAL/LEASES                                                                                                                                                          0.00
11. UTILITIES & TELEPHONE                                                         398.79            0.00       3,668.76           0.00           0.00           0.00           8,014.89
12. INSURANCE                                                                                                  5,017.49                          0.00           0.00           5,017.49
13. INVENTORY PURCHASES                                                                                                                                                            0.00
14. VEHICLE EXPENSES                                                                                                                                                               0.00
15. TRAVEL & ENTERTAINMENT                                                                                                                                                         0.00
16. REPAIRS, MAINTENANCE & SUPPLIES                                               503.00        1,409.49     9,257.65             0.00           0.00           0.00          37,660.41
17. ADMINISTRATIVE & SELLING                                                       15.00           27.00        15.00             3.00           0.00           0.00             228.61
18. OTHER (attach list)                                                                                  6,556,061.99                                       6,000.00       6,562,061.99
TOTAL DISBURSEMENTS FROM OPERATIONS                              0.00             916.79        1,436.49 6,574,020.89             3.00           0.00       6,000.00       6,617,827.39
19. PROFESSIONAL FEES                                                               0.00                    31,240.00                                                        178,166.10
20. U.S. TRUSTEE FEES                                                               0.00          750.00                                                                       5,630.71
21. OTHER REORGANIZATION EXPENSES (attach list)                                                                                                                                    0.00
TOTAL DISBURSEMENTS**                                            0.00              916.79        2,186.49 6,605,260.89       3.00                 0.00    6,000.00         6,800,842.11
22. NET CASH FLOW                                                0.00             -766.79       47,813.51   844,739.11       0.00                 0.00   -6,000.00           887,954.12
23. CASH - END OF MONTH (MOR-2)                                $0.00           $1,401.50      $49,215.01 $893,954.12 $893,954.12          $893,954.12 $887,954.12          $887,954.12
                                                        * Applies to Individual debtors only
              MOR-7                                     **Numbers for the current month should balance (match)                                                         Revised 07/01/98
                                                           RECEIPTS and CHECKS/OTHER DISBURSEMENTS lines on MOR-8
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                                                CASH ACCOUNT RECONCILIATION
                                                 MONTH OF 12/1-12/31/2021
BANK NAME                                  Broadway                                                            Broadway
ACCOUNT NUMBER                                                8640 #                         #                               8640
ACCOUNT TYPE                                    OPERATING                 PAYROLL                TAX              OTHER FUNDS                       TOTAL
BANK BALANCE                                                 -3.00                                                         887,957.12                  $887,954.12
DEPOSITS IN TRANSIT                                           0.00                                                                                           $0.00
OUTSTANDING CHECKS                                            0.00                                                                                           $0.00
ADJUSTED BANK BALANCE                                      ($3.00)                   $0.00             $0.00              $887,957.12                  $887,954.12
BEGINNING CASH - PER BOOKS                                   -3.00                                                          893,957.12                 $893,954.12
RECEIPTS*                                                                                                                                                    $0.00
TRANSFERS BETWEEN ACCOUNTS                                                                                                                                   $0.00
(WITHDRAWAL) OR CONTRIBUTION BY
INDIVIDUAL      DEBTOR MFR-2                                  0.00                                                                                           $0.00
CHECKS/OTHER DISBURSEMENTS*                                                                                                   6,000.00                   $6,000.00
ENDING CASH - PER BOOKS                                    ($3.00)                   $0.00             $0.00              $887,957.12                  $887,954.12

MOR-8                                      *Numbers should balance (match) TOTAL RECEIPTS and                                            Revised 07/01/98
                                            TOTAL DISBURSEMENTS lines on MOR-7
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                                    PAYMENTS TO INSIDERS AND PROFESSIONALS
Of the total disbursements shown for the month, list the amount paid to insiders (as defined in Section 101(31)(A)-(F) of the U.S. Bankruptcy Code) and the professionals.
Also, for insiders, identify the type of compensation paid (e.g., salary, commission, bonus, etc.) (Attach additional pages as necessary).
                                                  MONTH                   MONTH                   MONTH                     MONTH                      MONTH                      MONTH
  INSIDERS: NAME/COMP TYPE
                                                  July                    August                  September                October                    November                   December
 1.
 2.
 3.
 4.
 5.
 6.
TOTAL INSIDERS (MOR-1)                                           $0.00                    $0.00                   $0.00                       $0.00                      $0.00                      $0.00

                                                  MONTH                   MONTH                   MONTH                     MONTH                      MONTH                      MONTH
          PROFESSIONALS
                                                  July                    August                  September                October                    November                   December
 1. Douglas Deffenbaugh CPA                                                                                    4,740.00
 2. CJ Mueller & Assoc                                                                                        26,500.00
 3.
 4.
 5.
 6.
TOTAL PROFESSIONALS            (MOR-1)                           $0.00                    $0.00            $31,240.00                         $0.00                      $0.00                      $0.00

      MOR-9                                                                                                                Revised 07/01/98           Revised 07/01/98           Revised 07/01/98
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